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                    Case 1:19-cv-00536-PLM-PJG ECF No. 4 filed 07/09/19 PageID.145 Page 1 of 4

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                 Greenbush Brewing Co., et al.
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                                                                                                         72 Michigan Liquor Control Commission
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      Michigan Liquor Control Commission, et al
                                                                                                                             Constitution Hall
                                                                                                                             525 W. Allegan Street
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                    Case 1:19-cv-00536-PLM-PJG ECF No. 4 filed 07/09/19 PageID.146 Page 2 of 4

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
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                        SUMMONS IN A CIVIL ACTION
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                           Jon Reeder, Regulation Agent and Investigator
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                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                 Greenbush Brewing Co., et al.
                                                                                                                                      &DVH1R 1:19-cv-00536-PLM-PJG
                                                                                                                                      +RQ Paul L. Maloney
                                                                                                         72 Kurt Cox, Grand Rapids District Supervisor
                                         Y
                                                                                                    $''5(66 Michigan Liquor Control Commission
      Michigan Liquor Control Commission, et al
                                                                                                                             2942 Fuller Avenue NE #2
                                                                                                                             Grand Rapids, MI 49505


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                              Kurt Cox, Grand Rapids District Supervisor
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